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                                                                       U.S. DISTRICT COURT
                                                                      DISTRICT OF VERt·toNT
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                         UNITED STATES DISTRICT COURT
                                   FOR THE                            201~ DEC 12   PM I: 59
                             DISTRICT OF VERMONT


UNITED STATES OF AMERICA                         )
                                                 )
              v.                                 )      Case No. 5:14-cr-28
                                                 )
TYSHA WN MACK                                    )

              OPINION AND ORDER DENYING DEFENDANT'S
            MOTION TO SUPPRESS EVIDENCE AND STATEMENTS
                              (Doc. 47)

       This matter came before the court on November 4, 2014 for an evidentiary hearing
on Defendant Tyshawn Mack'f motion to suppress evidence and statements (Doc. 47).
Winooski Police Department Sergeant Michael Cram ("Sergeant Cram"), Vermont Drug
Task Force ("VDTF") Detective Matthew Plunkett ("Detective Plunkett"), and Vermont
State Police ("VSP") Trooper Angela Baker ("Trooper Baker") testified on behalf of the
government. During the hearing, the court admitted five videos, including two videos
from Sergeant Cram's police aruiser's video recorder and three videos from an Axon
camera on Sergeant Cram's chest. The parties submitted their post-hearing briefing on
November 14, 2014, at which point the court took the matter under advisement.
       Defendant is charged in a Superseding Indictment with: Count One: conspiring to
distribute heroin, a schedule I controlled substance, and cocaine base, a schedule II
controlled substance, in violation of21 U.S.C. §§ 846, 841(a), 841(b)(1)(C); Count Two:
knowingly possessing firearms in furtherance of a drug trafficking crime, in violation of
18 U.S.C. § 924(c)(l)(A); and1Count Three: having previously been convicted of four
felonies, knowingly possessin$ firearms, in violation of 18 U.S.C. § 922(g)(1).
       Defendant seeks the suJPpression of all evidence obtained from his allegedly
unlawful seizure during a motor vehicle stop that occurred on January 24, 2014 in
Winooski, Vermont. The government opposes the motion.
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       The government is represented by Assistant United States Attorney Nancy
Creswell. Defendant is represented by Mark A. Kaplan, Esq.
I.     Findings of Fact.
       On January 24, 2014, Sergeant Cram was parked in a marked police cruiser at the
comer of LaFountain Street and Leclair Street in Winooski, conducting surveillance of
the residence of Deirdre Hey (a/k/a "Mama D"). Although he was not pursuing a specific
investigation at the time, Sergeant Cram had previously responded to complaints at
Mama D's apartment, which was located at 43 LaFountain Street. He credibly testified
that, at the time, it was his understanding that Mama D was selling heroin and allowing
people to sell heroin from her apartment. There was also a possibility that stolen property
could be found there. Dylan Wright, Mama D's adult son, had recently told Sergeant
Cram that if he ever saw a red truck at his mother's house he should pay attention to it
because there would be a lot of drugs in it. Sergeant Cram was aware that Mama D and
her son had a tumultuous relationship and he had previously received similar tips from
Mr. Wright when he and his mother had a falling out. For that reason, Sergeant Cram
took the tip "with a grain of salt."
       On the same day as Sergeant Cram's surveillance of Mama D's residence, the
VDTF and the VSP were preparing a search warrant application for a residence located at
42 Hickok Place in Burlington, Vermont. Scott Taylor and Kyle Tetreault had previously
informed law enforcement that they were heroin users who were responsible for a series
of burglaries in northern Vermont. Mr. Tetreault described 42 Hickok Place as a "drug
hub" and both he and Mr. Taylor advised that they had purchased heroin there. They
identified the residents of 42 Hickok Place by their street names "T" and "Sam" and
described them as two African American males, one short and the other tall. Mr. Taylor
advised that he had seen these individuals carrying pistols on their persons. Mr. Taylor
and Mr. Tetreault further adv;ised that on January 7, 2014, they committed a burglary in
which they obtained firearms, including an AR-15 assault rifle, which they took to Mama
D's apartment. They described Mama D as a drug dealer and drug addict with whom
they traded firearms for heroin. They stated that, on January 7, 2014, they traded the AR-

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15 assault rifle to "T" in exchange for a sleeve of heroin and that both "T" and "Sam"
were at Mama D's apartment when the drugs-for-firearms transactions took place.
       On January 24,2014, from approximately 1:00 p.m. until4:00 p.m., Detective
Plunkett was parked in an unmarked car conducting surveillance of 42 Hickok Place so
that, for officer safety purposes, law enforcement could ascertain the likely number of
individuals at the residence if the search warrant application was granted. He credibly
testified that there was "a lot of foot traffic" to and from the residence and that the visits
were of short duration, which lle found indicative of drug trafficking. At the time,
Detective Plunkett did not know the full details of the investigation, but he was aware
that two African-American males, one short and the other tall, were associated with 42
Hickok Place, that these individuals were suspected of receiving stolen property, that
weapons were involved, and that the males could be going to a secondary location.
       At approximately 4:00 ,p.m., Detective Plunkett's supervisor, Sergeant Theresa
Randall, relieved him so that ln.e could warm up because temperatures were growing
increasingly frigid. Detective Plunkett drove around the comer and sat in his car with the
engine running. Sergeant Randall observed a tall African-American male leave 42
Hickok Place, followed shortly thereafter by a white male and a short African-American
male wearing a red hat. The short African-American male wearing the red hat used a key
to lock the door to the residence as he left. Sergeant Randall relayed this information to
Detective Plunkett and told him to watch for these individuals. As the two males turned
the comer and walked down Greene Street, Detective Plunkett observed the white male
get into the driver's seat and the African-American male with the red hat get into the
front passenger seat of a red Ford pick-up truck with Vermont license plate number
203A503. Detective Plunkett followed the red truck west on Pearl Street and south on
South Winooski Avenue and into a Rite-Aid parking lot. In the Rite-Aid parking lot, a
tall African-American male, who Detective Plunkett suspected was also associated with
42 Hickok Place, approachedithe passenger side of the red truck and spoke with its
occupants.


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         The red truck then left Rite-Aid, traveled south on South Winooski Avenue, and
turned east onto Main Street in Burlington. On Main Street, Detective Plunkett was able
to pull up next to the red truck! and view its occupants. Detective Plunkett continued to
follow the red truck until it patked in a parking lot shared by a Motel 6 and a
McDonald's. Detective Plunkett could not see whether the occupants of the red truck
entered either establishment. Because he had been following the red truck for some
distance and was concerned he might alert the occupants to the fact that they were being
followed, Detective Plunkett arranged to have VDTF Detective Matthew Daley follow
the red truck as it drove south on Main Street in Winooski and then turned onto
LaFountain Street, near the apartment of Mama D. Detective Plunkett stayed in the area
to support Detective Daley. Both detectives briefly lost sight of the red truck.
         Shortly after 5:00 p.m., Sergeant Cram saw the red truck approaching his location.
He had seen the red truck on a previous occasion parked near Mama D's apartment and
recognized the license plate number. He decided to follow the red truck with the
intention of stopping the vehiale if he witnessed a motor vehicle violation that would
justify a traffic stop.
         As Sergeant Cram followed the red truck, he saw it stop for four to five seconds in
its lane of travel on Leclair Street, which he considered a violation of23 V.S.A.
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§ 110l(a). Thereafter, the red truck resumed its travel until it approached a stop sign on
the partially snow covered road. 2 The red truck appeared to slow to a stop, but the cruiser

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    23 V.S.A. § llOl(a) provides:

         No person shall stop, par~ or leave standing any vehicle, whether attended or
         unattended, upon the pav¢d or main-traveled part of the highway or within that
         portion of a highway right of way which the traffic committee finds to be a
         dangerous location on the basis of an engineering and traffic investigation and
         designates as a no-parking zone by suitable signs at each end, and by such
         additional signs as the committee may determine.
2
  The cruiser video commences as the red truck approaches the stop sign. Where the video
conflicts with the officers' testimony at the court's evidentiary hearing, the court has relied on
the video. See Scott v. Harris, 550 U.S. 372, 379 (2007) (ruling that the court may rely on an
unaltered video recording when it conflicts with witness testimony).
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                                   I

video reveals that the truck's ~ar wheels never stopped rotating. Sergeant Cram
considered this a violation of23 V.S.A. § 1048(b). 3 In front of the stop sign was a white
line indicating where traffic must stop before entering the intersection. The point at
which the red truck slowed down as if to stop was beyond the white line. Sergeant Cram
deemed this a further violation of23 V.S.A. § 1048(b). 4 At approximately 5:22p.m.,
Sergeant Cram turned on his cruiser lights and effected a traffic stop based on the motor
vehicle violations he had witnessed. 5
          Sergeant Cram approached the driver's side of the red truck and asked for the
driver's license and registration. Evan Blum, the operator of the truck, provided both.
Sergeant Cram then asked the passenger, who he described as an African-American male
wearing a red hat, for identification. The male, who was later identified as Defendant,
responded that he did not have identification and that his name was Samual J. Young, his
date of birth was February 25, 1975, and he lived at 42 Main Street in Boston. Sergeant
Cram returned to his cruiser and requested that dispatch check Mr. Blum's license and
registration. Sergeant Cram also asked dispatch to check the information provided by
Defendant.
          Detective Plunkett saw the red truck at the traffic stop and relayed this information
to his commander. At approximately 5:26p.m., dispatch asked Sergeant Cram to call
Detective Plunkett because the VDTF had been watching the red truck. Sergeant Cram
called Detective Plunkett and discovered that he was in the area. Detective Plunkett
advised that he had been following the red truck for approximately forty minutes and
Sergeant Cram confirmed that he, too, had been watching it. Sergeant Cram told
Detective Plunkett that he was going to release the truck and its occupants and that they


3
  "[E]very driver of a vehicle approaching a stop intersection indicated by a stop sign shall
stop[.]" 23 V.S.A. § 1048(b).
4
  "[E]very driver of a vehicle approaching a stop intersection indicated by a stop sign shall stop
at a clearly marked stop line[.]" 23 V.S.A. § 1048(b).
5
    Sergeant Cram did not issue any tickets or warnings for the motor vehicle violations.

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had just given him "some bullsh*t story that they were headed to LaFountain Street but
forgot their Chicken McNuggets and were headed back to McDonald's." Detective
Plunkett confirmed that the males had indeed just visited McDonald's. After consulting
with his commander and receiving a directive to detain the red truck, at approximately
5:29p.m., Detective Plunkett told Sergeant Cram to "hold onto that car, don't let it go."
In a series of phone calls, Detective Plunkett explained that VDTF had been conducting
surveillance at the residence of the red truck's occupants, that "we don't have anything to
arrest these guys on," but noted that the red truck was related to a search warrant that was
in the process of being executed in Burlington. Detective Plunkett advised that they were
sending other officers to the scene of the traffic stop, including a VSP Trooper. Sergeant
Cram responded that he would detain the red truck's occupants and made a joke about
how he typically works slowly. He credibly testified that he decided to detain the red
truck and its occupants after the completion of the motor vehicle stop because he believed
he had a good faith basis to rely on Detective Plunkett's request.
       Sergeant Cram returned to the red truck and approached the passenger's side. He
told Defendant that there was nothing in the system regarding him, and verified with
Defendant the spelling of his first name ("Samual" versus "Samuel"). Sergeant Cram
then returned to his cruiser.
       Thereafter, dispatch confirmed that Mr. Blum's license was valid. Sergeant Cram
asked dispatch to check him for conditions of release. He again attempted to verify the
identity of Defendant. Dispatch confirmed it could not find a match for either spelling of
the first and last name with the date of birth provided. At approximately 5:38p.m.,
Sergeant Cram stated: "I'm sure it is a false name." Because the license plate number for
the red truck had been miscommunicated, Sergeant Cram was still waiting for
confirmation that the truck's registration was valid.
       At approximately 5:40p.m., VSP Trooper Jacob Metayer arrived on the scene to
support the investigation and Sergeant Cram summarized the situation for him. He told
Trooper Metayer that he had been watching a house down the street and had received
some information on the vehicle two days ago. Sergeant Cram said he would "jack them

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up," which meant he would hold up the vehicle's occupants. Trooper Metayer responded
that Sergeant Cram knew more about the investigation than he did. Trooper Metayer
briefly approached the red truck and spoke to its occupants but did not interact with them
further. The contents of his conversation with the red truck's occupants was not
presented as evidence.
       At approximately 5:43 p.m., Sergeant Cram asked dispatch to send a canine unit.
Sergeant Cram was not sure at that point if a canine unit would be necessary, but he had
suspicions of drug involvement and because the Winooski Police Department did not
have a canine unit, he knew he would need to request one from another law enforcement
agency. At approximately 5:49 p.m., dispatch advised that the neighboring jurisdictions
of Burlington, Colchester, and Milton did not have an available canine unit.
       At approximately 5:58p.m., Sergeant Cram returned to speak with the occupants
of the red truck. He told them that another police officer was coming to speak with them
and advised: "you're detained until then." According to Sergeant Cram, at this point,
neither Defendant nor Mr. Blum was free to leave. While he stood next to the red truck,
Sergeant Cram engaged in casual conversation with the two men which was light-hearted
at times, but which nonetheless included several questions. Sergeant Cram told
Defendant that he could not fimd him in the system and again asked whether Defendant
possessed any identification. refendant advised that he did not and was staying with his
girlfriend Diane Winchester. Defendant also mentioned that he was going to a sports
event for which he had tickets. Sergeant Cram asked if there were any guns in the truck
and was told that there were not. He asked Defendant if he had ever been arrested and
Defendant responded in the negative. Sergeant Cram asked about Defendant's address
and whether it was in a specific town in Massachusetts to which Defendant responded
that he had just moved and rei~erated that his address was 42 Main Street in Boston. In
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the course of the conversation,! Mr. Blum advised that he was going to see Katie and
appeared to describe her resid~nce as the same as Mama D's.
      During this encounter, Sergeant Cram observed that Defendant was "very
exaggerated" in his hand motions and in his speech and "he could not sit still." He

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further noted that Defendant was wearing a New York Giants hat and yet claimed to be
living in Boston. During the conversation, Evan Blum avoided eye contact, looked
down, and deferred to Defendant to respond to most of Sergeant Cram's questions.
Sergeant Cram credibly testified that it appeared that Mr. Blum was trying to ignore what
was happening.
        At approximately 6:03p.m., Trooper Angela Baker arrived at the scene of the
traffic stop. Trooper Baker approached and stood at the driver's side door of the red
truck and another officer stood at the passenger's side door of the red truck, effectively
blocking any exit. An agent from the Bureau of Alcohol, Tobacco and Firearms arrived,
and parked his vehicle "nose to nose" in front of the red truck. A law enforcement
vehicle was also parked behind the red truck. As she spoke to truck's occupants, Trooper
Baker shined a flashlight into their faces. When Mr. Blum asked to roll up the truck's
windows because of the cold, she told him he could not do so. Trooper Baker credibly
testified that when she spoke to the red truck's occupants, they were not free to leave.
        Although Trooper Baker lacked a full understanding of the events preceding the
traffic stop, as the affiant for the search warrant application for 42 Hickok Place, she was
aware of the connection between 42 Hickok Place and 43 LaFountain Street and
understood those residences wFre locations of suspected trafficking in heroin, firearms,
                               '
and stolen property. The red ttuck was not involved in her investigation and she did not
know the identity of its occup~nts or their relationship to any alleged criminal activity,
however, she was aware ofthd red truck's path of travel, law enforcement's surveillance
of the vehicle, and that its occupants included a "white male and an African-American
male" who left 42 Hickok Place with the African-American male locking the door as he
left.
        Trooper Baker informe<!l Mr. Blum and Defendant that she knew where they were
coming from and where they were headed and that the stop was not a random stop. She
asked them if they had anything on their persons and told them that 42 Hickok Place was
surrounded by police officers and a tactical team, that their vehicle left 42 Hickok Place
for 43 LaFountain Street, which was the other location police were surveilling, and that it

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was up to the males to tell her what was going on. She asked the males who Mama D
was. Trooper Baker advised that they were waiting for a drug dog and that the males
should tell the truth in response to her questions. When Mr. Blum told her that they were
headed to LaFountain Street to see Katie, Trooper Baker asked what drugs Katie used
and expressed her belief that Katie was a drug addict. Trooper Baker's tone of voice was
accusatory, but she asked relatively few questions and received noncommittal answers.
Defendant advised her that he was "just trying to get laid" and he generally denied
knowledge of the matters to which she referred.
       Trooper Baker credibly testified that Mr. Blum appeared "very strung out" and
uncomfortable. She suspected that he was an opiate user. In contrast, Defendant was
"almost the opposite" and was very engaged and talkative, "moving all over the place," to
the point that she found his behavior "over the top."
       The officers decided tQ separate Mr. Blum and Defendant. Defendant remained in
                              !

the red truck while Mr. Blum' exited the red truck and waited in a law enforcement
officer's vehicle. At approximately 6:44p.m., Corporal Michelle LeBlanc arrived with
"Casko," a certified drug detection canine. Consistent with her standard procedure,
Corporal LeBlanc led Casko twice around the red truck. On the second trip around the
vehicle, Casko alerted near the truck's passenger door. Defendant asked questions about
the drug dog and appeared anxious about its presence. Trooper Baker credibly testified
that Defendant appeared relieved when he commented that the drug dog did not alert on
the vehicle. Corporal LeBlanc corrected him and told him that the drug dog had alerted.
In response, Defendant slumped in his seat and then began to move inside the cab of the
truck despite the officers' commands that Defendant remain in his seat. The engine of
the red truck was running because of the extreme cold. Defendant moved from the
passenger seat to the driver's seat of the red truck. In response, Sergeant Cram grabbed
Defendant's shirt, drew his firearm, pointed it at Defendant's chest, and told him to stop
moving. At approximately 6:59p.m., despite Sergeant Cram's commands, Defendant
began driving the red truck away from the scene, briefly dragging Sergeant Cram with
him.

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       Thereafter, Sergeant Cram and the other officers entered their own vehicles and
pursued the red truck through downtown Winooski at speeds of approximately eighty
miles per hour. The red truck eventually crashed into a parked car and a stopped car.
Defendant exited the truck and fled on foot. Sergeant Cram and Trooper Metayer
followed him and Sergeant Cram ultimately stopped Defendant by deploying his Taser
and then placing Defendant into handcuffs. A search of Defendant revealed U.S.
currency and marijuana. The officers took Defendant back to the VSP barracks in
Williston, fingerprinted him, and used a computer database to identify him as Tyshawn
Mack of Brooklyn, New Yor~. Once identified, the officers learned Defendant was
subject to a warrant in New York and had previous felony convictions for robbery and
drug offenses.
       Law enforcement towed the red truck to the VSP barracks and applied for a
warrant to search it. After the search warrant application was granted, the police
searched the red truck and seized loaded firearms, narcotics, and cell phones from it.
II.    Conclusions of Law and Analysis.
       In seeking suppression of the evidence against him, Defendant challenges the
validity of the initial traffic stop, whether the officers had reasonable suspicion to detain
him after the purpose of the traffic stop was completed, whether the stop was reasonable
in scope and duration, and whether any alleged illegality tainted the subsequent warrant
application to search the red truck. The government argues that suppression is not
warranted because Sergeant Cram properly stopped the red truck for motor vehicle
violations, the officers had a reasonable suspicion of drug activity to justify detaining and
questioning Defendant further, the stop was reasonable in scope and duration, and the
officers' conduct during the stop did not taint their subsequent search warrant application.
       A.       Whether Defendant Has Standing to Challenge the Legality of the
                Traffic Stop.

       The government argues Defendant lacks standing to challenge the legality of the
traffic stop of the red truck. "A person is seized by the police and thus entitled to
challenge the government's action under the Fourth Amendment when the officer, by

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means of physical force or show of authority, terminates or restrains his freedom of
movement, through means intentionally applied." Brendlin v. California, 551 U.S. 249,
254 (2007) (internal quotation marks and citations omitted). "The law is settled that in
Fourth Amendment terms a traffic stop entails a seizure of the driver 'even though the
purpose of the stop is limited and the resulting detention quite brief."' !d. at 255 (quoting
Delaware v. Prouse, 440 U.S. 648, 653 (1979)). "[A] passenger is seized as well and so
may challenge the constitutionality of the stop." !d. at 251; see also United States v.
Chin, 2013 WL 5406239, at *5 (D. Vt. Sept. 26, 2013) ("[A] passenger has standing to
challenge the constitutionality of a stop of the vehicle in which he or she is traveling.").
Defendant may therefore challenge the legality of the traffic stop of the red truck. See
Brendlin, 551 U.S. at 252.
       B.      Whether Sergeant Cram Had A Reasonable Suspicion to Stop the
               Red Truck.

       "[T]he Fourth Amendment requires that an officer making a traffic stop have
probable cause or reasonable suspicion that the person stopped has committed a traffic
violation or is otherwise engaged in or about to be engaged in criminal activity." United
States v. Wilson, 699 F.3d 235, 242 (2d Cir. 2012) (internal quotation marks omitted).
"[A]n officer may, consistent with the Fourth Amendment, conduct a brief, investigatory
stop when the officer has a reasonable, articulable suspicion that criminal activity is
afoot." Illinois v. Wardlow, 528 U.S. 119, 123 (2000) (citing Terry v. Ohio, 392 U.S. 1,
30 (1968)).
       "Because a Terry stop impinges to a lesser extent on Fourth Amendment concerns
than does an arrest or search, the stricter standard of probable cause does not apply."
United States v. Bayless, 201 F.3d 116, 132 (2d Cir. 2000) (citation omitted).
Accordingly, although "an officer's reliance on a mere 'hunch' is insufficient to justify a
stop,' the requisite likelihood of criminal activity "falls considerably short of satisfying a
preponderance of the evidence standard." United States v. Arvizu, 534 U.S. 266, 274
(2002) (quoting Terry, 292 U.S. at 27).



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       In determining whether a reasonable suspicion exists, the court's inquiry is an
objective one and "the subjective intentions or motives of the officer making the stop are
irrelevant." Bayless, 201 F.3d at 133. The court "must consider the totality of the
circumstances surrounding the stop," and "evaluate those circumstances through the eyes
of a reasonable and cautious police officer on the scene, guided by his experience and
training." ld. (internal quotation marks omitted).
       Here, Sergeant Cram observed at least two motor vehicle violations 6 which
rendered it objectively reasonable for him to stop the red truck for those violations, even
if he was following the red truck in the hope of gleaning information regarding its
involvement in drug activity at Mama D's apartment. See Bayless, 201 F.3d at 133 (2d
Cir. 2000); see also United States v. Dhinsa, 171 F.3d 721, 724-25 (2d Cir. 1999) ("[A]n
officer's use of a traffic violatjon as a pretext to stop a car in order to obtain evidence for
some more serious crime is of no constitutional significance."). Defendant's motion to
suppress on the basis of an unlawful traffic stop is therefore DENIED.
       C.       Whether the Officers Had A Reasonable Suspicion to Prolong the
                Traffic Stop.

       Defendant contends that even if the initial stop was lawful, the officers
unreasonably prolonged the stop such that it was unreasonable in scope and duration in


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  The court found credible Sergeant Cram's testimony that the red truck stopped in its lane of
travel, albeit briefly. The video recording further reveals that the red truck failed to come to a
complete stop at the designated white line in front of a stop sign and that although it appeared to
pause, its tires continued to rotate as it preceded into the intersection with Bellevue Avenue. The
Vermont Supreme Court has held an "officer's stop of defendant was valid if he had a reasonable
suspicion that defendant had violated 23 V.S.A. § 1048(b) (driver approaching stop sign shall
stop)." State v. Flynn, 674 A.2d 792, 793 (Vt. 1996). Although the Vermont Supreme Court has
not squarely addressed the proper interpretation of23 V.S.A. § 1048(b), courts interpreting
similar laws in other jurisdictions have concluded that a vehicle must come to a complete stop
before the designated marked stop line. See, e.g., State v. Daniels, 39 Fla. L. Weekly D1014,
2014 WL 1976269, at *2 (Fla. Dist. Ct. App. May 16, 2014) (collecting cases and noting that
"[a] stop line protects other motorists and pedestrians only if a vehicle stops when its front
bumper reaches that line."); People v. Wood, 883 N.E.2d 620, 624 (Ill. App. Ct. 2008)
("conclud[ing] that the General Assembly did not contemplate that stopping astride a clearly
marked stop line would constitute compliance[.]").


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violation of the Fourth Amendment. "An officer's inquiries into matters unrelated to the
justification for the traffic stop ... do not convert the encounter into something other than
a lawful seizure, so long as those inquiries do not measurably extend the duration of the
stop." Arizona v. Johnson, 555 U.S. 323, 333 (2009). Officers may continue an
investigation when they "detect[] an independent basis for continuing to detain the
[vehicle] and its occupants." See United States v. Jenkins, 452 F.3d 207, 214 (2d Cir.
2006).
         In this case, Sergeant Cram did not unreasonably prolong the traffic stop when he
asked Mr. Blum for his license and registration, asked Mr. Blum and Defendant about the
truck's path of travel, and asked Defendant for identification. These inquiries were either
directly related to the traffic stop or were brief roadside questioning that courts have
found permissible provided responses are not compelled. See Arizona v. Johnson, 555
U.S. 323, 333 (2009) ("An officer's inquiries into matters unrelated to the justification for
the traffic stop ... do not convert the encounter into something other than a lawful
seizure, so long as those inquiries do not measurably extend the duration of the stop.");
Florida v. Bostick, 501 U.S. 429, 434-35 (1991) ("[E]ven when officers have no basis for
suspecting a particular individual, they may generally ask questions of that individual,
ask to examine the individual's identification, and request consent to search his or her
luggage-as long as the police do not convey a message that compliance with their
requests is required.") (internal citations omitted); United States v. Long, 320 F.3d 795,
799 (8th Cir. 2003) (ruling that "[a]n officer at a traffic stop can check the driver's
identification and vehicle registration, ask the driver to step out of his vehicle, and ask
routine questions concerning the driver's destination and the purpose of his trip.").
         In response to Sergeant Cram's questioning, Defendant provided a false name and
presumably false information regarding his place of residence. 7 Even if the initial traffic
stop was unlawful, this evidence of a new crime authorized Sergeant Cram to detain

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  "A person who knowingly gives false information to any law enforcement officer with purpose
to implicate another or to deflect an investigation from the person or another person shall be
imprisoned for not more than one year or fined not more than $1,000.00, or both." 13 V.S.A.
§ 1754(a).
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Defendant for further investigation. United States v. Remington, 208 F.2d 567, 570 (2d
Cir. 1953) (Recognizing that it would be "an unwarranted extension of [the fruit of the
poisonous tree] doctrine to apply it ... to a new wrong committed by the defendant.");
see also United States v. Awadallah, 349 F.3d 42, 81 n.8 (2d Cir. 2003) (Straub, J.,
concurring) ("Other circuits have likewise held that the fruit of the poisonous tree
doctrine does not apply to new crimes committed by an individual who has been
unlawfully detained.") (collecting cases). Correspondingly, "if the defendant's response
is itself a new, distinct crime, then the police constitutionally may arrest the defendant for
that crime." United States v. Bailey, 691 F.2d 1009, 1016-17 (11th Cir. 1982); see also
United States v. Williams, 2014 WL 412526, at *8 (D. Vt. Feb. 3, 2014) (noting police
officers may arrest a defendant for the crime of false information to a police officer
where defendant provides the information during an unlawful stop). Because the inquiry
is an objective one, Sergeant Cram's initial decision to release the occupants of the red
truck notwithstanding evidence of a new crime is not dispositive.
       Thereafter, Sergeant Cram detained Defendant at Detective Plunkett's request.
When he did so, Sergeant Cram was aware of some facts which supported a conclusion
that the red truck was connected to drug activity at Mama D's apartment. In addition to
the tip from Dylan Wright that the red truck was likely to contain a large quantity of
drugs, Sergeant Cram had previously seen the red truck parked near Mama D's which he
understood was a location from which heroin sales were conducted and where stolen
property might be found. He was aware that the red truck's occupants planned to travel
to Mama D's apartment to see a female who lived there. He suspected Defendant had
given him a false name and false address and he believed the conduct of both Mr. Blum
and Defendant evidenced an atypical reaction to a mere traffic stop. The court need not
determine whether this information was sufficient to constitute a reasonable suspicion of
criminal activity because Sergeant Cram was permitted to rely on the collective
knowledge doctrine in carrying out Detective Plunkett's request.
       Under the collective or imputed knowledge doctrine, an arrest or search is
       permissible where the actual arresting or searching officer lacks the specific

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       information to form the basis for probable cause or reasonable suspicion
       but sufficient information to justify the arrest or search was known by other
       law enforcement officials initiating or involved with the investigation.

United States v. Colon, 250 FJd 130, 135 (2d Cir. 2001). The doctrine exists because,
"in light of the complexity of modem police work, the arresting officer cannot always be
aware of every aspect of an investigation; sometimes his authority to arrest a suspect is
based on facts known only to his superiors or associates." Zellner v. Summerlin, 494
F .3d 344, 369 (2d Cir. 2007) (internal quotation marks omitted).
       "[A]pplication of the imputed knowledge doctrine requires that at some point
along the line, some law enforcement official-or perhaps some agglomeration of such
officials-involved must possess sufficient information to permit the conclusion that a
search or arrest is justified." Colon, 250 F .3d at 136. An officer may rely on the request
of another officer to stop a suspect, even if the stopping officer has not been told all of
the information about the suspect known by the requesting officer. See United States v.
Hensley, 469 U.S. 221,232 (1985) (concluding that "if a flyer or bulletin has been issued
on the basis of articulable facts supporting a reasonable suspicion that the wanted person
has committed an offense, then reliance on that flyer or bulletin justifies a stop to check
identification[.]"). However, '~some amount of communication between officers is
necessary in order for a second officer's reliance on the first officer's knowledge to be
reasonable." Wong v. Yoo, 649 F. Supp. 2d 34, 60 n.l1 (E.D.N.Y. 2009) (citing Loria v.
Gorman, 306 F.3d 1271, 1292 (2d Cir. 2002)).
       In the instant case, VDTF officers involved in the detention of Defendant knew
                               '
that he had just traveled from 42 Hickok Place to LaFountain Street in the red truck, and
that he had locked the front ddor to 42 Hickok Place upon leaving. Surveillance of 42
Hickok Place on the day of the motor vehicle stop revealed foot traffic to that residence
indicative of illegal drug activity. See United States v. Feliz, 657 F. Supp. 2d 364, 373
(E.D.N.Y. 2009) (stating the collective knowledge doctrine allowed an inference that
individuals were associated with drug trafficking based on GPS surveillance that placed
the defendant's vehicle near a shipping port where members of a drug organization had

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previously picked up drugs). VDTF and VSP were preparing a search warrant
application for 42 Hickok Place based upon recent information that the residence was
used as a place where illegal drugs could be purchased and stolen property traded. This
information included Mr. Tetreault's and Mr. Taylor's statements that they had recently
traded an AR-15 assault rifle from a burglary they committed for a sleeve of heroin
obtained from a resident of 42 Hickok Place. The firearm-for-drugs transaction took
place at Mama D's apartment located at 43 LaFountain Street. Mr. Tetreault and Mr.
Taylor described Mama D as a drug dealer and drug addict with whom they had
previously traded firearms for heroin. They described the residents of 42 Hickok Place as
two African-American males whom they knew by their street names "T" and "Sam," one
of whom was tall and the other short. Sergeant Cram had advised dispatch that the
passenger was an African-American male who stated his first name was Samual.
        Through a series of communications between Sergeant Cram and his dispatch
and Detective Plunkett and members of the VTDF and VSP, collectively, law
enforcement possessed ample facts to establish a reasonable, articulable suspicion that
Defendant may be "Sam" who resided at 42 Hickok Place and that he may be involved in
the trafficking of drugs, fireatms, and stolen property. See United States v. Nafzger, 974
F.2d 906, 916 (7th Cir. 1992)1(finding the collective knowledge doctrine gave reasonable
suspicion where an investigating officer knew that a stolen vehicle had been seen on the
defendant's property). See United States v. Nicksion, 628 F.3d 368, 376 (7th Cir. 2010)
(holding that the collective knowledge doctrine established probable cause to arrest
where an informant engaged in a controlled buy with a defendant). Sergeant Cram
therefore did not violate the Fourth Amendment when he detained the red truck's
occupants at Detective Plunkett's request. Defendant's motion to suppress based upon an
illegal detention is therefore DENIED.




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       D.       Whether the Officers Unreasonably Prolonged the Stop As They
                Waited for a Canine Unit to Arrive.

       Having found the initial stop and detention of Defendant constitutional, the court
must evaluate whether the officers unreasonably prolonged the stop while they awaited
the arrival of a canine unit.
       [A] seizure that is lawful at its inception can violate the Fourth Amendment
       if its manner of execution unreasonably infringes interests protected by the
       Constitution. A seizure that is justified solely by the interest in issuing a
       warning ticket to the driver can become unlawful if it is prolonged beyond
       the time reasonably required to complete that mission.

Illinois v. Caballes, 543 U.S. 405, 407 (2005) (internal citation omitted).
       Defendant was detained for approximately eighty-two minutes from the time of
the initial traffic stop until the arrival of the canine unit. During some of that time period,
Sergeant Cram was awaiting information regarding whether Mr. Blum had conditions of
release, whether the truck's registration was valid, and whether Defendant had provided
him with a false name. The time spent on those activities was reasonably related to the
traffic stop. See United States v. Sanchez, 417 F.3d 971, 975 (8th Cir. 2005) (finding a
detention was reasonable when "[t]he majority of the nearly forty-five minute encounter
was spent completing the traffic stop[.]").
       After the initial traffic stop was completed, Defendant was detained for
approximately one additional hour to await the arrival of the drug detection canine unit.
During this time period, law enforcement had a reasonable, articulable suspicion that
Defendant was involved in trafficking drugs, firearms,' and stolen property and Trooper
Baker was questioning both him and Mr. Blum regarding that involvement. Accordingly,
the additional time was directly related to an ongoing investigation that was supported by
a reasonable suspicion that criminal activity was afoot. As a result, this is not a case in
which a traffic stop is unreasonably prolonged so that a drug detection canine can arrive
in hopes of establishing either a reasonable suspicion or probable cause.
       Sergeant Cram called for a canine unit as soon as he suspected drug involvement
because he knew the canine unit would need to be provided by a different agency. See

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United States v. Donnelly, 475 F.3d 946, 954 (8th Cir. 2007) (noting an officer calling for
a canine unit within twelve minutes of arriving on the scene contributed to a showing that
the officer acted diligently). At approximately 5:49p.m., dispatch indicated that the
neighboring jurisdictions of Burlington, Colchester, and Milton did not have an available
canine unit. See United States v. McBride, 676 F.3d 385, 395 (4th Cir. 2012)
(determining a fifty-five minute detention, while the officers waited for a canine unit,
"was reasonable given the officers' diligence in pursuing their investigation.").
       VSP Trooper LeBlanc and Casko arrived at approximately 6:44p.m. and Casko
alerted on the red truck a few minutes later. Courts have concluded that detentions in
excess of an hour are reasonable provided the officers acted diligently as they did here.
See, e.g., United States v. Maltais, 403 F.3d 550, 557-58 (8th Cir. 2005) (upholding a
detention of nearly three hours where the defendants were stopped in a remote location,
the officers had trouble finding an available canine unit, and the officers responded
diligently); United States v. White, 42 F.3d 457, 460 (8th Cir. 1994) (finding an eighty
minute wait for a canine unit after the officer had already conducted a basic investigation
in a traffic stop was reasonable).
       Because law enforcement acted diligently in obtaining a canine unit once there
was a reasonable suspicion that the red truck's occupants may be involved in drug
activity, Defendant's motion to suppress on the grounds that the traffic stop was
unreasonable in scope and duration is DENIED.
       E.       When Defendant was in Custody for the Purposes of Miranda.

       Defendant seeks to suppress all statements that he made during the traffic stop,
arguing that he was in custody when Sergeant Cram and Detective Plunkett decided to
detain the red truck, or, alternatively, once Trooper Metayer arrived. The government
concedes "[ o]nee the State Police arrived and based upon its investigation, probable
cause arose and [Defendant] was in custody." (Doc. 70 at 11.) The government
represents that it will not use Defendant's statements in its case-in-chief after Defendant




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was in custody. 8 It is undisputed that Defendant did not receive Miranda warnings and
thus the only question is when.law enforcement's questioning of Defendant became
custodial.
       Defendant was not in custody at the time of the initial traffic stop because
"persons temporarily detained pursuant to [traffic] stops are not 'in custody' for the
purposes of Miranda." Berkemer v. McCarty, 468 U.S. 430, 440 (1984) (italics
supplied). In such circumstances, "one expects the detention to be brief and the
questioning to be circumscribed and related to the driver's identification, authorization to
drive, and conduct on the roadway" and thus there is little "fear [of] the coercion present
in stationhouse interrogations that prompted Miranda[.]" United States v. FNU LNU,
653 F.3d 144, 153 (2d Cir. 2011). However, depending on the officers' conduct, "[t]he
initial stop and investigative detention [may] evolve[] into a situation indistinguishable
from an arrest." Gilles v. Rep icky, 511 F .3d 239, 246 (2d Cir. 2007).
       "[ C]ustody remains the touchstone for application of [Miranda's] warning
requirement." United States v. Newton, 369 F.3d 659, 671 (2d Cir. 2004).
       The free-to-leave inquiry constitutes a necessary, but not determinative,
       first step in establishing Miranda custody. The ultimate inquiry for
       determining Miranda custody, however, is that articulated by the Supreme
       Court in California v. Beheler: whether there is a formal arrest or restraint
       on freedom of movement of the degree associated with a formal arrest.

!d. at 670 (internal quotation marks omitted). To determine whether an individual is in
custody, "courts ... examine all of the circumstances surrounding the interrogation,"
J.D.B. v. North Carolina, 131 S.Ct. 2394, 2402 (2011) (internal quotation marks
omitted), including:
       the interrogation's duration; its location (e.g., at the suspect's home, in
       public, in a police station, or at the border); whether the suspect volunteered
       for the interview; whether the officers used restraints; whether weapons

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 However, if Defendant testifies, "the government may introduce un-Mirandized statements to
impeach the defendant's testimony" "because a defendant must testify truthfully or suffer the
consequences." United States v. Siddiqui, 699 F.3d 690, 706 (2d Cir. 2012) (internal quotation
marks and citations omitted).

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       were present and especially whether they were drawn; whether officers told
       the suspect he was free to leave or under suspicion . . . . The circumstances
       also include ... the nature of the questions asked.

FNU LNU, 653 F.3d at 153.
       It is undisputed that Defendant was not free to leave when Sergeant Cram advised
the truck's occupants were detained until the arrival of another officer who wanted to talk
to them. However, as Sergeant Cram briefly stood outside the red truck and engaged its
occupants in conversation, there were little, if any, of the hallmarks of a formal arrest.
Sergeant Cram was not blocking the red truck's exit, he did not issue any orders to the
occupants other than to advise them that they were being detained at another officer's
request, he did not restrain their freedom of movement in the truck in any respect, and
although he asked questions, he did so in a conversational and light-handed manner,
interspersing those questions in a discussion of sports teams and the occupants' plans for
the evening. See United States v. Mitchell, 966 F .2d 92, 98 (2d Cir. 1992) (in addition to
law enforcement conveying to a defendant that he or she is not free to leave, "a custodial
setting is one providing 'inherently coercive pressures that tend to undermine the
individual's will to resist and to compel him to speak."') (citation omitted). Sergeant
Cram's tone of voice was not accusatory and he did not confront the occupants with the
evidence against them. See United States v. Guarno, 819 F .2d 28, 32 (2d Cir. 1987)
(noting the "manner of approach or ... tone or extent of [the officers'] questioning"
factored into the analysis of whether a suspect was in custody); see also United States v.
Bassignani, 575 F.3d 879, 884 (9th Cir. 2009) (finding an interview "conducted in an
open, friendly tone" was not a custodial interrogation).
       In addition, Sergeant Cram did not use force, display force, or threaten to use force
and he did not advise Defendant he was under arrest or would be arrested. Although
Defendant was not free to leave, his brief detention remained the type of roadside
detention deemed non-custodial in Berkemer v. McCarty. See Berkemer, 468 U.S. at 440
(holding that "persons temporarily detained pursuant to [traffic] stops are not 'in custody'
for the purposes of Miranda").

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       The government has conceded that Defendant was in custody when Trooper
Metayer arrived notwithstanding the scant evidence to support this conclusion. Trooper
Metayer played only a limited role in the stop and acknowledged he had limited
knowledge regarding the investigation. He briefly approached the red truck and spoke to
its occupants, however, there is no evidence regarding the contents of that exchange.
There is also no evidence that ihe displayed a weapon, threatened Defendant with arrest,
or confronted Defendant with the evidence against him. Thereafter, Trooper Metayer
returned to his own vehicle to ,await arrival of additional law enforcement officers.
Nothing about Trooper Metayer's presence at the scene rendered the traffic stop
custodial. See United States\-!. Campbell, 741 F.3d 251,267 (1st Cir. 2013) (finding
defendants were not in custody when they were questioned by multiple law enforcement
agents).
           When Trooper Baker arrived at the traffic stop at approximately 6:03 p.m., the
nature and circumstances of the stop changed markedly. Trooper Baker acknowledged
that Defendant was not free to leave at that time and, in fact, the red truck's exit was
blocked by law enforcement vehicles. Trooper Baker stood in front of the driver's door
while another officer stood at the passenger door, blocking the occupants' exit. As
Trooper Baker shined a flashlight into the occupants' faces while questioning them, the
men were effectively surrounded by law enforcement officers, many of whom were
presumably armed. See Sprosty v. Buchler, 79 F.3d 635, 642 (7th Cir. 1996) (holding an
interrogation was custodial where police officers "surrounded [a suspect's] car, blocked
the driveway from his car to the street, and escorted him inside" to ask questions); United
States v. Scharf, 608 F.2d 323, 325 (9th Cir. 1978) (holding an interrogation was
custodial where a defendant "was surrounded by the officers.").
       Trooper Baker's tone was accusatory as she confronted Defendant with the
evidence against him and told him that law enforcement believed he lived in a residence
currently surrounded by police who were executing a search warrant there. She made it
clear to Defendant and Mr. Blum that the red truck had been under surveillance for some
time and that they knew where it had been and where it was going. She further advised

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that the traffic stop was not random but was a deliberate effort to ascertain whether
Defendant and Mr. Blum were involved in illegal activity. See United States v. Griffin, 7
F.3d 1512, 1518-19 (lOth Cir. 1993) (finding that where "the nature ofthe police/citizen
encounter progresses beyond & short investigatory stop, a custodial environment is more
likely" and "[w ]here police are in full control of the questioning environment, custody is
more easily found.").
       Trooper Baker limited the occupants' freedom of movement by telling Mr. Blum
he could not roll up the truck's windows, by separating the men, and by directing
Defendant to stop moving around in his seat. See Cruz v. Miller, 255 F.3d 77, 85-86 (2d
Cir. 2001) (noting "some of the circumstances admittedly point toward custody"
including that the police officers "ordered the suspect not to move and to put his hands
up"); United States v. Cohen, 372 F. Supp. 2d 340, 347 (E.D.N.Y. 2005) (finding a
defendant was in custody where "he knew he had to remain seated"). A drug detection
canine was en route. Although Defendant remained in a private vehicle on a public
highway, his subsequent arrest appeared, at that time, inevitable. The totality of the
circumstances thus supports a conclusion that Defendant was in custody when Trooper
Baker approached the red truck and questioned its occupants.
       For the foregoing reasons, Defendant's motion to suppress his statements is
insofar as it pertains to questioning prior to Trooper Baker's arrival is DENIED and his
motion to suppress this statements after Trooper Baker's arrival is DENIED AS MOOT
as the government agrees not to offer those statements in its case-in-chief.
                                     CONCLUSION
       For the reasons stated above, the court DENIES Defendant's motion to suppress
evidence and statements (Doc. 47).




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SO ORDERED.
                                                              p....
    Dated at Burlington, in the District of Vermont, this_!!___ day of December, 2014.



                                                 ~··
                                              Christina Reiss, Chief Judge
                                              United States District Court




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